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                               U NITED STA TES DISTRICT CO UR T
                               SO UT H ERN D ISTR ICT O F FLO R IDA

                                    CASE N O. 12-CV-14373-DLG


    FED ER AL TR AD E C O M M ISSIO N ,

               Plaintiff,



    A + FINA N CIA L CEN TER ,LLC ,a Florida
    lim ited liability com pany,also doing businessas
    A C CELE R ATED FIN A N CIAL CEN TER S,
    LLC ,

    A C CEL ER ATED A CC O U NT IN G SERV ICE S
    LLC ,a Florida lim ited liability com pany,

    CH RISTOPH ER L.M IANO ,individually and
    asthem anaging mem berofAccelerated
    A ccounting Services LLC,and

    D AN A M .M IA NO ,individually and asthe
    m anagingm emberofA+ FinancialCenter,LLC,

               Defendants.


    O RDER GM NTING RECEIVER'S UNOPPOSED M OTION TO FILE UNDER SEAL
        EX H IBIT A TO REC EIVER 'S UN C O N TESTED M O T IO N T O AU TH O RIZE
                        PAY M EN T O F PR O FESSIO NA L FEES

           TH IS CA U SE cam e before the Courtupon the Receiver's U nopposed M otion to File

   Under Seal Exhibit A to Receiver's Uncontested M otion to A uthorize Paym entof Professional

   Fees(kiunopposed M otion'')(D.E.228j,filed December14,2015.TheCoul'thasreviewed said
   Unopposed M otion,the Courtfile,and isOtherwisefully advised asto theM otion.ltishereby:

           O R D ERED A ND A DJUD G ED that:

                     Receiver'sU nopposed M otion is hereby G R AN TED .



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           2.     The Receiver is perm itted to file Exhibit A to Receiver's U ncontested M otion to

   A uthorize Paym entofProfessionalFeesunder seal,and this tiling w illbe sealed forthe duration

   ofthe litigation.


           DONE AND ORDERED in ChambersatM iami,Florida,this /7                     y of        ber
                                                                                                 '
                                                                                                 ji
                                                                                                     .


   2015.




                                               D ON A LD L G RAH A M
                                               UNITED STATES DISTRICT JUDGE


   cc:     A 11CounselofRecord




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